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AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
              RICHARD MELELLA
                      (Defendant’s Name)                                  Criminal Number: 1:13CR00267-001 LJO


                                                                          Michael Berdinella
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      admitted guilt to violation of charge 1 as alleged in the violation petition filed on 04/06/2016 .

[]       was found in violation of condition(s) of supervision as to charge(s)          after denial of guilt, as alleged in the
         violation petition filed on .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                                     Date Violation Occurred
Charge 1                             UNLAWFUL USE OF CONTROLLED                              March 21, 2016
                                     SUBSTANCES



The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on February 10, 2014.


       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[U]      Appeal rights given                  []        Appeal rights waived


[U]      Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                            August 8, 2016
                                                                                    Date of Imposition of Sentence


                                                                                        /s/ Lawrence J. O’Neill
                                                                                      Signature of Judicial Officer

                                                                       LAWRENCE J. O’NEILL, United States District Judge
                                                                              Name & Title of Judicial Officer

                                                                                             August 11, 2016
                                                                                                 Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:               1:13CR00267-001 LJO                                                           Judgment - Page 2 of 4
DEFENDANT:                 RICHARD MELELLA


                                                         IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 127 days.


[]       No TSR: Defendant shall cooperate in the collection of DNA.


[]       The court makes the following recommendations to the Bureau of Prisons:


[]       The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:                1:13CR00267-001 LJO                                                                         Judgment - Page 3 of 4
DEFENDANT:                  RICHARD MELELLA


                                                 SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 18 Months

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
         seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
         she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:               1:13CR00267-001 LJO                                                     Judgment - Page 4 of 4
DEFENDANT:                 RICHARD MELELLA


                                 SPECIAL CONDITIONS OF SUPERVISION


    1. The defendant shall submit to the search of his person, property, home, and vehicle by a United States
probation officer, or any other authorized person under the immediate and personal supervision of the
probation officer, based upon reasonable suspicion, without a search warrant. Failure to submit to a
search may be grounds for revocation. The defendant shall warn any other residents that the premises
may be subject to searches pursuant to this condition.

     2. The defendant shall not open additional lines of credit without the approval of the probation officer.

     3. As directed by the probation officer, the defendant shall participate in an outpatient correctional
treatment program to obtain assistance for drug or alcohol abuse.

    4. As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath,
urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

   5. The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places
where alcohol is the chief item of sale.

    6. As directed by the probation officer, the defendant shall participate in a program of outpatient mental
health treatment.

     7. As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment
or testing and shall make payment directly to the vendor under contract with the United States
Probation Office of up to $25 per month.

     8. The defendant shall reside and participate in an inpatient correctional treatment program to obtain
assistance for drug and/or alcohol abuse, for a period of up to 180 days, and up to 10 additional days
for substance abuse detoxification services if deemed necessary.

     9. The defendant is to refrain from the use of medicinal marijuana.
